     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 1 of 17 Page ID #:10



 1   E. MARTIN ESTRADA
     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     JOSHUA O. MAUSNER (Cal. Bar No. 260251)
 4   Deputy Chief, General Crimes Section
     Assistant United States Attorney
 5        1200 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-0619
 7        Facsimile: (213) 894-3713
          E-mail:    joshua.mausner@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR   2:23-cr-00003-FMO

13             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             RAFAEL OCHOA
14                   v.

15   RAFAEL OCHOA,

16             Defendant.

17

18        1.   This constitutes the plea agreement between RAFAEL OCHOA
19   (“defendant”) and the United States Attorney’s Office for the Central
20   District of California (the “USAO”) in the above-captioned case.
21   This agreement is limited to the USAO and cannot bind any other
22   federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authority.
24                           RULE 11(c)(1)(C) AGREEMENT
25        2.   Defendant understands that this agreement is entered into
26   pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C).
27   Accordingly, defendant understands that, if the Court determines that
28   it will not accept this agreement, absent a breach of this agreement
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 2 of 17 Page ID #:11



 1   by defendant prior to that determination and whether or not defendant

 2   elects to withdraw any guilty plea entered pursuant to this

 3   agreement, this agreement will, with the exception of paragraph 22

 4   below, be rendered null and void and both defendant and the USAO will

 5   be relieved of their obligations under this agreement.          Defendant

 6   agrees, however, that if defendant breaches this agreement prior to

 7   the Court’s determination whether or not to accept this agreement,

 8   the breach provisions of this agreement, paragraphs 25 and 26 below,

 9   will control, with the result that defendant will not be able to

10   withdraw any guilty plea entered pursuant to this agreement, the USAO

11   will be relieved of all of its obligations under this agreement, and

12   the Court’s failure to follow any recommendation or request regarding

13   sentence set forth in this agreement will not provide a basis for

14   defendant to withdraw defendant’s guilty plea.

15                             DEFENDANT’S OBLIGATIONS

16        3.   Defendant agrees to:
17             a.    Give up the right to indictment by a grand jury and,
18   at the earliest opportunity requested by the USAO and provided by the
19   Court, appear and plead guilty to a single-count information, in the
20   form attached to this agreement as Exhibit A or a substantially
21   similar form, which charges defendant with possession with intent to
22   distribute methamphetamine, in violation of Title 21, United States
23   Code, Sections 841(a)(1), (b)(1)(A)(viii).
24             b.    Admit the allegations of the Petition for Action of
25   Court for Cause regarding revocation of defendant’s supervised
26   release in United States v. Rafael Ochoa, CR No. 17-00635-GW (C.D.
27   Cal.), at the next scheduled appearance in that matter.
28             c.    Not contest facts agreed to in this agreement.
                                          2
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 3 of 17 Page ID #:12



 1               d.   Abide by all agreements regarding sentencing contained

 2   in this agreement and affirmatively recommend to the Court that it

 3   impose sentence in accordance with paragraph 17 of this agreement.

 4               e.   Appear for all court appearances, surrender as ordered

 5   for service of sentence, obey all conditions of any bond, and obey

 6   any other ongoing court order in this matter.

 7               f.   Not commit any crime; however, offenses that would be

 8   excluded for sentencing purposes under United States Sentencing

 9   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

10   within the scope of this agreement.

11               g.   Be truthful at all times with the United States

12   Probation and Pretrial Services Office and the Court.

13               h.   Pay the applicable special assessment at or before the

14   time of sentencing unless defendant has demonstrated a lack of

15   ability to pay such assessments.

16                             THE USAO’S OBLIGATIONS

17        4.     The USAO agrees to:
18               a.   Not contest facts agreed to in this agreement.
19               b.   Upon filing the information in this matter, file a
20   Notice to Court of Related Criminal Case with respect to United
21   States v. Rafael Ochoa, CR 17-00635-GW (C.D. Cal.).
22               c.   To recommend that the sentence imposed for violation
23   of supervised release in United States v. Rafael Ochoa, CR 17-00635-
24   GW (C.D. Cal.), run concurrent with the sentence imposed by the Court
25   in the above-captioned matter, such that the total term of
26   imprisonment on both matters be the agreed-upon sentence discussed
27   below.    Defendant understands and agrees that the USAO’s sentencing
28   recommendation in connection with defendant’s supervised release
                                          3
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 4 of 17 Page ID #:13



 1   proceeding is not governed by Federal Rule of Criminal Procedure

 2   11(c)(1)(C) and is not binding on the Court.        Accordingly, defendant

 3   also understands and agrees that, provided the Court imposes the

 4   parties’ agreed-upon sentence set forth in paragraph 17 below,

 5   defendant will not be relieved of his obligations under this

 6   agreement or provided an opportunity to withdraw his plea of guilty

 7   if the Court imposes a sentence in connection with defendant’s

 8   supervised release proceeding other than the sentence recommended by

 9   the USAO.

10               d.   Except for criminal tax violations (including

11   conspiracy to commit such violations chargeable under 18 U.S.C.

12   § 371), not further criminally prosecute defendant for violations of

13   21 U.S.C. § 841(a)(1) arising out of defendant’s conduct described in

14   the agreed-to factual basis set forth in paragraph 13 below, nor file

15   an information against defendant pursuant to Title 21, United States

16   Code, Section 851.    Defendant understands that the USAO is free to

17   criminally prosecute defendant for any other unlawful past conduct or

18   any unlawful conduct that occurs after the date of this agreement.

19   Defendant agrees that, at the time of sentencing, the Court may

20   consider the uncharged conduct in determining the applicable

21   Sentencing Guidelines range, the propriety and extent of any

22   departure from that range, and the sentence to be imposed after

23   consideration of the Sentencing Guidelines and all other relevant

24   factors under 18 U.S.C. § 3553(a).

25               e.   Abide by all agreements regarding sentencing contained

26   in this agreement and affirmatively recommend to the Court that it

27   impose sentence in accordance with paragraph 17 of this agreement.

28

                                          4
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 5 of 17 Page ID #:14



 1                              NATURE OF THE OFFENSE

 2        5.   Defendant understands that for defendant to be guilty of
 3   the crime charged in the single-count information, that is possession
 4   with intent to distribute methamphetamine, in violation of Title 21,
 5   United States Code, Sections 841(a)(1), (b)(1)(A)(viii), the
 6   following must be true: first, defendant knowingly possessed at least
 7   50 grams of methamphetamine; and second, defendant possessed it with
 8   intent to distribute it to another person.        To possess with intent to
 9   distribute means to possess with intent to deliver or transfer
10   possession to another person, with or without any financial interest
11   in the transaction.    It does not matter whether defendant knew that
12   the substance was methamphetamine.       It is sufficient that defendant
13   knew it was some type of federally controlled substance.
14        6.   Defendant understands that for defendant to be subject to
15   the statutory maximum and statutory minimum sentences set forth
16   below, the government must prove beyond a reasonable doubt that
17   defendant possessed with intent to distribute at least 50 grams of
18   methamphetamine.    Defendant admits that defendant, in fact, possessed
19   with intent to distribute at least 50 grams of methamphetamine.
20                                     PENALTIES
21        7.   Defendant understands that the statutory maximum sentence
22   that the Court can impose for a violation of Title 21, United States
23   Code, Sections 841(a)(1), (b)(1)(A)(viii), is: life imprisonment; a
24   lifetime period of supervised release; a fine of $10,000,000 or twice
25   the gross gain or gross loss resulting from the offense, whichever is
26   greatest; and a mandatory special assessment of $100.
27        8.   Defendant understands that the statutory mandatory minimum
28   sentence that the Court must impose for a violation of Title 21,
                                          5
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 6 of 17 Page ID #:15



 1   United States Code, Sections 841(a)(1), (b)(1)(A)(vii) is: 10 years’

 2   imprisonment, followed by a five-year period of supervised release,

 3   and a mandatory special assessment of $100.

 4        9.    Defendant understands that under 21 U.S.C. § 862a,

 5   defendant will not be eligible for assistance under state programs

 6   funded under the Social Security Act or Federal Food Stamp Act or for

 7   federal food stamp program benefits, and that any such benefits or

 8   assistance received by defendant’s family members will be reduced to

 9   reflect defendant’s ineligibility.

10        10.   Defendant understands that supervised release is a period

11   of time following imprisonment during which defendant will be subject

12   to various restrictions and requirements.        Defendant understands that

13   if defendant violates one or more of the conditions of any supervised

14   release imposed, defendant may be returned to prison for all or part

15   of the term of supervised release authorized by statute for the

16   offense that resulted in the term of supervised release.

17        11.   Defendant understands that, by pleading guilty, defendant

18   may be giving up valuable government benefits and valuable civic

19   rights, such as the right to vote, the right to possess a firearm,

20   the right to hold office, and the right to serve on a jury.

21   Defendant understands that he is pleading guilty to a felony and that

22   it is a federal crime for a convicted felon to possess a firearm or

23   ammunition.   Defendant understands that the conviction in this case

24   may also subject defendant to various other collateral consequences,

25   including but not limited to revocation of probation, parole, or

26   supervised release in another case and suspension or revocation of a

27   professional license.    Defendant understands that unanticipated

28

                                          6
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 7 of 17 Page ID #:16



 1   collateral consequences will not serve as grounds to withdraw

 2   defendant’s guilty plea.

 3        12.    Defendant and his counsel have discussed the fact that, and

 4   defendant understands that, if defendant is not a United States

 5   citizen, the conviction in this case makes it practically inevitable

 6   and a virtual certainty that defendant will be removed or deported

 7   from the United States.     Defendant may also be denied United States

 8   citizenship and admission to the United States in the future.

 9   Defendant understands that while there may be arguments that

10   defendant can raise in immigration proceedings to avoid or delay

11   removal, removal is presumptively mandatory and a virtual certainty

12   in this case.   Defendant further understands that removal and

13   immigration consequences are the subject of a separate proceeding and

14   that no one, including his attorney or the Court, can predict to an

15   absolute certainty the effect of his conviction on his immigration

16   status.    Defendant nevertheless affirms that he wants to plead guilty

17   regardless of any immigration consequences that his plea may entail,

18   even if the consequence is automatic removal from the United States.

19                                   FACTUAL BASIS

20        13.    Defendant admits that defendant is, in fact, guilty of the
21   offense to which defendant is agreeing to plead guilty.          Defendant
22   and the USAO agree to the statement of facts provided below and agree
23   that this statement of facts is sufficient to support a plea of
24   guilty to the charge described in this agreement and to establish the
25   Sentencing Guidelines factors set forth in paragraph 15 below but is
26   not meant to be a complete recitation of all facts relevant to the
27   underlying criminal conduct or all facts known to either party that
28   relate to that conduct.
                                          7
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 8 of 17 Page ID #:17



 1        On or about May 10, 2019, within the Central District of

 2   California, defendant knowingly possessed with intent to distribute

 3   at least 50 grams of methamphetamine, a Schedule II controlled

 4   substance.    In addition to methamphetamine, defendant also possessed

 5   with intent to distribute heroin, as well as over $13,000 cash in

 6   various denominations, plastic baggies and scales, and pay-owe sheets

 7   used to track drug debts owed from customers.

 8        At the time defendant possessed with intent to distribute the

 9   above-referenced methamphetamine and heroin, he had previously been

10   convicted of a serious drug felony, namely, possession with intent to

11   distribute methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1),

12   (b)(1)(B)(viii), in United States v. Rafael Ochoa, CR 10-00628-007-

13   PHX-NVW, in the United States District Court for the District of
14   Arizona.   At the time defendant possessed with intent to distribute
15   the above-referenced methamphetamine and heroin, he was on both
16   federal supervised release as well as California state probation.
17                   SENTENCING FACTORS AND AGREED-UPON SENTENCE
18        14.     Defendant understands that in determining defendant’s
19   sentence the Court is required to calculate the applicable Sentencing
20   Guidelines range and to consider that range, possible departures
21   under the Sentencing Guidelines, and the other sentencing factors set
22   forth in 18 U.S.C. § 3553(a).      Defendant understands that the
23   Sentencing Guidelines are advisory only.
24        15.     Defendant and the USAO agree to the following applicable
25   Sentencing Guidelines factors:
26       Base Offense Level:                  [24]    [U.S.S.G. §_2D1.1(a)(5),
                                                                       (c)(8)]
27       Adjustments [Career Offender]:       [37]        [U.S.S.G. § 4D1.1(b)
                                                                          (1)]
28

                                          8
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 9 of 17 Page ID #:18



 1       Acceptance of Responsibility:        [-3]     [U.S.S.G. § 3E1.1(a-b)]

 2       Total Offense Level:                 [34]

 3        16.   The parties agree not to argue that any other specific
 4   offense characteristics, adjustments, or departures be imposed.
 5        17.   Defendant and the USAO agree that, taking into account the
 6   factors listed in 18 U.S.C. § 3553(a)(1)-(7), an appropriate
 7   disposition of this case is that the Court impose a sentence of: 120
 8   months’ imprisonment; 5 years’ supervised release with conditions to
 9   be fixed by the Court; and a $100 special assessment.          The parties
10   also agree that no prior imprisonment (other than credits that the
11   Bureau of Prisons may allow under 18 U.S.C. § 3585(b)) may be
12   credited against this stipulated sentence, including credit under
13   Sentencing Guideline § 5G1.3.
14                        WAIVER OF CONSTITUTIONAL RIGHTS
15        18.   Defendant understands that by pleading guilty, defendant
16   gives up the following rights:
17              a.   The right to persist in a plea of not guilty.
18              b.   The right to a speedy and public trial by jury.
19              c.   The right to be represented by counsel – and if
20   necessary have the Court appoint counsel -- at trial.          Defendant
21   understands, however, that, defendant retains the right to be
22   represented by counsel – and if necessary have the Court appoint
23   counsel – at every other stage of the proceeding.
24              d.   The right to be presumed innocent and to have the
25   burden of proof placed on the government to prove defendant guilty
26   beyond a reasonable doubt.
27              e.   The right to confront and cross-examine witnesses
28   against defendant.
                                          9
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 10 of 17 Page ID #:19



 1              f.    The right to testify and to present evidence in

 2   opposition to the charges, including the right to compel the

 3   attendance of witnesses to testify.

 4              g.    The right not to be compelled to testify, and, if

 5   defendant chose not to testify or present evidence, to have that

 6   choice not be used against defendant.

 7              h.    Any and all rights to pursue any affirmative defenses,

 8   Fourth Amendment or Fifth Amendment claims, and other pretrial

 9   motions that have been filed or could be filed.

10                         WAIVER OF APPEAL OF CONVICTION

11        19.   Defendant understands that, with the exception of an appeal
12   based on a claim that defendant’s guilty plea was involuntary, by
13   pleading guilty defendant is waiving and giving up any right to
14   appeal defendant’s conviction on the offense to which defendant is
15   pleading guilty.    Defendant understands that this waiver includes,
16   but is not limited to, arguments that the statute to which defendant
17   is pleading guilty is unconstitutional, and any and all claims that
18   the statement of facts provided herein is insufficient to support
19   defendant’s plea of guilty.
20                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
21        20.   Defendant agrees that, provided the Court imposes a
22   sentence within the range specified in paragraph 17 above, defendant
23   gives up the right to appeal any portion of that sentence, and the
24   procedures and calculations used to determine and impose any portion
25   of that sentence.
26        21.   The USAO agrees that, provided the Court imposes a sentence
27   within the range specified in paragraph 17 above, the USAO gives up
28   its right to appeal any portion of that sentence, and the procedures
                                          10
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 11 of 17 Page ID #:20



 1   and calculations used to determine and impose any portion of that

 2   sentence.

 3                       RESULT OF WITHDRAWAL OF GUILTY PLEA

 4        22.     Defendant agrees that if, after entering a guilty plea
 5   pursuant to this agreement, defendant seeks to withdraw and succeeds
 6   in withdrawing defendant’s guilty plea on any basis other than a
 7   claim and finding that entry into this plea agreement was
 8   involuntary, then (a) the USAO will be relieved of all of its
 9   obligations under this agreement; and (b) should the USAO choose to
10   pursue any charge or any allegation of a prior conviction for a
11   serious drug or violent felony that was either dismissed or not filed
12   as a result of this agreement, then (i) any applicable statute of
13   limitations will be tolled between the date of defendant’s signing of
14   this agreement and the filing commencing any such action; and
15   (ii) defendant waives and gives up all defenses based on the statute
16   of limitations, any claim of pre-indictment delay, or any speedy
17   trial claim with respect to any such action, except to the extent
18   that such defenses existed as of the date of defendant’s signing this
19   agreement.
20                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE
21        23.     Defendant agrees that if the count of conviction is
22   vacated, reversed, or set aside, both the USAO and defendant will be
23   released from all their obligations under this agreement.
24                           EFFECTIVE DATE OF AGREEMENT
25        24.     This agreement is effective upon signature and execution of
26   all required certifications by defendant, defendant’s counsel, and an
27   Assistant United States Attorney.
28

                                          11
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 12 of 17 Page ID #:21



 1                                BREACH OF AGREEMENT

 2        25.   Defendant agrees that if defendant, at any time after the
 3   signature of this agreement and execution of all required
 4   certifications by defendant, defendant’s counsel, and an Assistant
 5   United States Attorney, knowingly violates or fails to perform any of
 6   defendant’s obligations under this agreement (“a breach”), the USAO
 7   may declare this agreement breached.       All of defendant’s obligations
 8   are material, a single breach of this agreement is sufficient for the
 9   USAO to declare a breach, and defendant shall not be deemed to have
10   cured a breach without the express agreement of the USAO in writing.
11   If the USAO declares this agreement breached, and the Court finds
12   such a breach to have occurred, then: (a) if defendant has previously
13   entered a guilty plea pursuant to this agreement, defendant will not
14   be able to withdraw the guilty plea, (b) the USAO will be relieved of
15   all its obligations under this agreement, and (c) the Court’s failure
16   to follow any recommendation or request regarding sentence set forth
17   in this agreement will not provide a basis for defendant to withdraw
18   defendant’s guilty plea.
19        26.   Following the Court’s finding of a knowing breach of this
20   agreement by defendant, should the USAO choose to pursue any charge
21   or any allegation of a prior conviction for a serious drug or violent
22   felony that was either dismissed or not filed as a result of this
23   agreement, then:
24              a.    Defendant agrees that any applicable statute of
25   limitations is tolled between the date of defendant’s signing of this
26   agreement and the filing commencing any such action.
27              b.    Defendant waives and gives up all defenses based on
28   the statute of limitations, any claim of pre-indictment delay, or any
                                          12
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 13 of 17 Page ID #:22



 1   speedy trial claim with respect to any such action, except to the

 2   extent that such defenses existed as of the date of defendant’s

 3   signing this agreement.

 4              c.    Defendant agrees that: (i) any statements made by

 5   defendant, under oath, at the guilty plea hearing (if such a hearing

 6   occurred prior to the breach); (ii) the agreed to factual basis

 7   statement in this agreement; and (iii) any evidence derived from such

 8   statements, shall be admissible against defendant in any such action

 9   against defendant, and defendant waives and gives up any claim under

10   the United States Constitution, any statute, Rule 410 of the Federal

11   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

12   Procedure, or any other federal rule, that the statements or any

13   evidence derived from the statements should be suppressed or are

14   inadmissible.

15          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

16                                OFFICE NOT PARTIES
17        27.   Defendant understands that the Court and the United States
18   Probation and Pretrial Services Office are not parties to this
19   agreement and need not accept any of the USAO’s sentencing
20   recommendations or the parties’ agreements to facts, sentencing
21   factors, or sentencing.     Defendant understands that the Court will
22   determine the facts, sentencing factors, and other considerations
23   relevant to sentencing and will decide for itself whether to accept
24   and agree to be bound by this agreement.
25        28.   Defendant understands that both defendant and the USAO are
26   free to: (a) supplement the facts by supplying relevant information
27   to the United States Probation and Pretrial Services Office and the
28   Court, (b) correct any and all factual misstatements relating to the
                                          13
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 14 of 17 Page ID #:23



 1   Court’s Sentencing Guidelines calculations and determination of

 2   sentence, and (c) argue on appeal and collateral review that the

 3   Court’s Sentencing Guidelines calculations and the sentence it

 4   chooses to impose are not error, although each party agrees to

 5   maintain its view that the calculations and sentence referenced in

 6   paragraphs Error! Reference source not found. and 16 are consistent

 7   with the facts of this case.      While this paragraph permits both the

 8   USAO and defendant to submit full and complete factual information to

 9   the United States Probation and Pretrial Services Office and the

10   Court, even if that factual information may be viewed as inconsistent

11   with the facts agreed to in this agreement, this paragraph does not

12   affect defendant’s and the USAO’s obligations not to contest the

13   facts agreed to in this agreement.

14                             NO ADDITIONAL AGREEMENTS

15        29.   Defendant understands that, except as set forth herein,
16   there are no promises, understandings, or agreements between the USAO
17   and defendant or defendant’s attorney, and that no additional
18   promise, understanding, or agreement may be entered into unless in a
19   writing signed by all parties or on the record in court.
20

21

22

23

24

25

26

27

28

                                          14
Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 15 of 17 Page ID #:24




                                                  
Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 16 of 17 Page ID #:25




                                                 
     Case 2:23-cr-00003-FMO Document 4 Filed 01/06/23 Page 17 of 17 Page ID #:26



 1                             CERTIFICATE OF SERVICE

 2
          I, Mercedes Romero, declare:
 3

 4        That I am a citizen of the United States and a resident of or

 5   employed in Los Angeles County, California; that my business address

 6   is the Office of United States Attorney, 312 North Spring Street,
 7   Los Angeles, California 90012; that I am over the age of 18; and
 8
     that I am not a party to the above-titled action;
 9
          That I am employed by the United States Attorney for the
10
     Central District of California, who is a member of the Bar of the
11

12   United States District Court for the Central District of California,

13   at whose direction I served a copy of:

14   PLEA AGREEMENT FOR DEFENDANT RAFAEL OCHOA
15
      ‫ ܆‬Placed in a closed envelope          ‫ ܆‬Placed in a sealed envelope
16      for collection and inter-              for collection and mailing
        office delivery, addressed as          via United States mail,
17      follows:                               addressed as follows:

18

19    ‫ ܆‬By hand delivery, addressed          ‫ ܆‬By facsimile, as follows:
        as follows:
20
      ‫ ܈‬Via email                            ‫ ܆‬By Federal Express, as
21                                             follows:

22   This Certificate is executed on January 6, 2023, at Los Angeles,

23   California.   I certify under penalty of perjury that the foregoing

24   is true and correct.

25

26
                                             Mercedes
                                                cedes Romero
                                                      Romero
27                                           Legal Assistant

28
